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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 Masih Alinejad,

                        Plaintiff,

                   v.                                  Civil Action No. 1:19-cv-03599-EGS

 The Islamic Republic of Iran et al.,

                        Defendants.


                         PLAINTIFF’S SECOND STATUS REPORT

       Plaintiff filed suit in this Court on December 2, 2019. See Complaint, ECF No. 1. On July

1, 2020, the Clerk of Court dispatched two copies of the summons, notice of suit, and complaint

to the U.S. State Department pursuant to 28 U.S.C. § 1608(a)(4) for diplomatic service. See

Certificate of Clerk – 28USC1608(a)(4), ECF No. 9. On October 6, 2020 this Court ordered that

a status report be provided regarding Plaintiff’s attempt at diplomatic service upon Defendants.

At that time, the Office of the Legal Adviser of the State Department had advised that the

documents were with the Swiss Embassy in Tehran, Iran for delivery but that service had not yet

been executed and was expected by approximately October 19, 2020.

       On October 19, 2020, counsel contacted the State Department as directed for a status

update and was informed that the documents for this case had not been included in the

diplomatic pouch received that week. See State Department emails, Exhibit A. On the morning of

November 12, 2020, counsel received notice from the State Department that service was effected

on October 27, 2020 and that certified copy of the diplomatic notes will be transmitted to the

Clerk. See Exhibit A. Upon receipt of such note, counsel for Plaintiff will file proof of service

with this Court.

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Dated November 12, 2020.

Respectfully,



                                                ______/s/__________________
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